                         UNITED STATES DISTRICT COURT
                  FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                              CHARLOTTE DIVISION


YURII KOROTKOV & IRYNA
PAVLOVNA KOROTKOVA.

                    Plaintiffs,
                                                       Civil Action No. 3:19-CV-00210
       -v-
                                                        DEFENDANT’S MOTION TO DISMISS
SUNTRUST MORTGAGE, INC.

                    Defendant


       Defendant SunTrust Bank (“SunTrust”)1, by counsel and pursuant to Rules 9(b) and

12(b)(6) of the Federal Rules of Civil Procedure, moves to dismiss the Slander of Title and Fraud

Claims in the Complaint filed by Plaintiffs Yurii Korotkov and Iryna Pavlovna Korotkova

(collectively “Plaintiffs”) on the grounds, inter alia, that the claim for Slander of Title levied

against SunTrust is barred by Plaintiffs’ failure to state a claim upon which relief can be granted

pursuant to Rule 12(b)(6) of the Federal Rules of Civil Procedure; and that the claim for Fraud

levied against SunTrust is barred by Plaintiffs’ failure to meet the pleading standard required by

Rule 9(b) of the Federal Rules of Civil Procedure.

       WHEREFORE, Defendant SunTrust respectfully prays the Court that:

             1. Plaintiffs’ claim for Slander of Title be dismissed with prejudice;

             2. Plaintiffs’ claim for Fraud be dismissed with prejudice;

             3. SunTrust has such other and further relief as the Court shall deem equitable and

                just.



1
 SunTrust Mortgage, Inc. merged into SunTrust Bank, a Georgia state-chartered bank, effective
August 6, 2018. As such, the proper named Defendant in this case is SunTrust Bank.

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  This the 22nd day of May 2019.



                                   TROUTMAN SANDERS LLP

                                   By:/s/ Jamie E. Rudd
                                   D. Kyle Deak (N.C. State Bar No. 35799)
                                   Jamie E. Rudd (N.C. State Bar No. 50968)
                                   TROUTMAN SANDERS LLP
                                   305 Church at North Hills Street, Suite 1200
                                   Raleigh, North Carolina 27609
                                   Telephone: (919) 835-4100
                                   Facsimile: (919) 829-8725
                                   Email: kyle.deak@troutman.com
                                   Email: jamie.rudd@troutman.com


                                   Attorneys for Defendant SunTrust Bank




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